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                                 ATTACHMENT B
                           Particular Things to be Seized

I. Information to be disclosed by the Carrier.

      1.      Historical location, prospective location, and other information related

to the use of the Target Phone from May 9, 2024, through the date of the application

and prospective location and other information related to the use of the Target

Phone for a period of 30 Days or from the date of this warrant, including:

           a. Subscriber   information,   Payment     history/Data,   Account   Notes,

              Secondary and associated phone numbers, Device Identifiers, Including

              Make & Model;

           b. Information reflecting the location of cellular towers (cell-site and

              sector/face) interacting with the Target Phone, including data

              collected by the Carrier reflecting the physical location of the Target

              Phone;

           c. all precision location information, E-911 Phase II data, real-time GPS

              data, latitude, and longitude data, and/or network timing information,

              per call measurement or timing advance data: True Call, and real time

              cell site information (tower and sector); and

           d. Call / text detail records and data reports for incoming/ outgoing calls

              with cell tower and sector data for voice, SMS, MMS, and data

              connections, originating and destination IP addresses, Latitude/

              Longitude Data, and per call measurement or timing advance data: True

              Call, or equivalent).
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         2.   The information includes monitoring non-content signaling and routing

information, including all non-content packet switched data, through the furnishing

of information, facilities, technical assistance, and the installation and use of a pen

register and trap and trace device pursuant to 18 U.S.C. §§ 3123-3124 by Carrier and

ATF. Because the request for such location data may include use of a “pen register”

or a “trap and trace device,” see 18 U.S.C. § 3127(3) & (4), the application and the

warrant are designed to comply with the Pen Register Statute as well as Rule 41. The

application therefore includes all information required for and serves as a pen

register application, 18 U.S.C. § 3123(a); similarly, the warrant therefore includes all

the information required for and serves as a pen register order, 18 U.S.C. § 3123(b).

         3.   This pen register / trap and trace device shall be transferable to any

changed dialed number subsequently assigned to a device bearing the same ESN,

IMSI, or SIM as the Target Phone; any changed ESN, IMSI, or SIM subsequently

assigned the same dialed number as the Target Phone; or any additional changed

dialed number, ESN, IMSI, or SIM listed to the same subscriber account as the

Target Phone.

         4.   The government shall compensate the Carrier for reasonable expenses

incurred in furnishing such facilities or assistance. Any Carrier or representative who

gains access to the information in this warrant shall not disclose the existence of the

warrant, order, or investigation to any third party unless ordered to do so by the

Court.
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      5.      This warrant does not authorize the seizure of any tangible property. In

approving this warrant, the Court finds reasonable necessity for the seizure of the

information described. See 18 U.S.C. § 3103a(b)(2). Law enforcement personnel (who

may include, in addition to law enforcement officers and agents, attorneys for the

government, attorney support staff, agency personnel assisting the government in

this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Carrier in order to locate the things

particularly described in this warrant.

II. Particular Things to Be Seized with a Cell Site Simulator or Wi-Fi
Geolocation Device

      1.      This Warrant authorizes the officers to whom it is directed to determine

the location of Target Phone by collecting and examining:

           a. radio signals emitted by Target Phone for the purpose of

              communicating with cellular infrastructure, including towers that route

              and connect individual communications; and

           b. radio signals emitted by Target Phone in response to signals sent to it

              by the officers

for a period of thirty days, during all times of day and night. This includes monitoring

non-content signaling and routing information, including all non-content packet

switched data, through the installation and use of a pen register and trap and trace

device pursuant to 18 U.S.C. § 3123 by the ATF. Because the use of the device, a Cell

Site Simulator or Wi-Fi geolocation device, may fall within the definitions of a “pen

register” or a “trap and trace device,” see 18 U.S.C. § 3127(3) & (4), the application
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and the warrant are designed to comply with the Pen Register Statute as well as Rule

41. The application therefore includes all information required for and serves as a

pen register application, 18 U.S.C. § 3123(a); similarly, the warrant therefore

includes all the information required for and serves as a pen register order, 18 U.S.C.

§ 3123(b).

      2.     This warrant does not authorize the interception of any content

(telephone, text message, or internet based). The investigative device may interrupt

cellular service of phones or other cellular devices within its immediate vicinity. Any

service disruption to non-target devices will be brief and temporary, and all

operations will attempt to limit the interference with such devices. In order to connect

with the Target Phone, the device may briefly exchange signals with all phones or

other cellular devices in its vicinity. These signals may include cell phone identifiers.

The device will not complete a connection with cellular devices determined not to be

the Target Phone, and law enforcement will limit collection of information from

devices other than the Target Phone. To the extent that any information from a

cellular device other than the Target Phone is collected by the law enforcement

device, law enforcement will delete that information, and law enforcement will make

no investigative use of it absent further order of the court, other than distinguishing

the Target Phone from all other cellular devices.

      3.     Under this warrant, the cell site simulator / geolocation device shall be

transferable to any changed dialed number subsequently assigned to a device bearing

the same ESN, IMSI, or SIM as the Target Phone; any changed ESN, IMSI, or SIM
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subsequently assigned the same dialed number as the Target Phone; or any

additional changed dialed number, ESN, IMSI, or SIM listed to the same subscriber

account as the Target Phone.

      4.     The Court finds reasonable necessity for use of the techniques and

collection of information described. See 18 U.S.C. § 3103a(b)(2).

      5.     This warrant does not authorize the seizure of any tangible property. In

approving this warrant, the Court finds reasonable necessity for the seizure of the

information described. See 18 U.S.C. § 3103a(b)(2).

III. Information to be seized by the government

      1.     All information described above in Section I that leads to evidence of the

21 U.S.C. § 841(a)(1), Distribution or Possession with Intent to Distribute a

Controlled Substance, and 18 U.S.C. § 922(g)(1), Felon in Possession of a Firearm.

      Law enforcement personnel (who may include, in addition to law enforcement

officers and agents, attorneys for the government, attorney support staff, agency

personnel assisting the government in this investigation, and outside technical

experts under government control) are authorized to review the records produced by

the Carrier in order to locate the things particularly described in this Warrant.
